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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
DONALD J. TRUMP, et al.                   )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )                   Case No. 19-cv-01136 (APM)
                                          )
COMMITTEE ON OVERSIGHT AND                )
REFORM OF THE U.S. HOUSE OF               )
REPRESENTATIVES, et al.                   )
                                          )
      Defendants.                         )
_________________________________________ )

                                             ORDER

       This matter is presently scheduled for a hearing on Plaintiffs’ Motion for Preliminary

Injunction on May 14, 2019. After reviewing the parties’ briefs, and as permitted by Federal Rule

of Civil Procedure 65(a)(2), the court intends to “advance the trial on the merits and consolidate it

with the hearing” on the motion for preliminary injunction. Fed. R. Civ. P. 65(a)(2); see also

Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981) (requiring the court to give the parties

“clear and unambiguous notice” of the court’s intention to consolidate under Rule 65(a)(2)

(citation omitted)). The sole question before the court—Is the House Oversight Committee’s

issuance of a subpoena to Mazars USA LLP for financial records of President Donald J. Trump

and various associated entities a valid exercise of legislative power?—is fully briefed, and the

court can discern no benefit from an additional round of legal arguments. Nor is there an obvious

need to delay ruling on the merits to allow for development of the factual record.
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       If any party objects to consolidation under Rule 65(a)(2), it shall file a written objection no

later than 5:00 pm on May 13, 2019. Additionally, if any party wishes to supplement the factual

record, it should do so by 5:00 p.m. on May 13, 2019.




Dated: May 9, 2019
                                                                     Amit P. Mehta
                                                              United States District Court Judge




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